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 IT IS ORDERED as set forth below:



 Date: September 28, 2022
                                                   _____________________________________
                                                              Lisa Ritchey Craig
                                                         U.S. Bankruptcy Court Judge

_______________________________________________________________




                   IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

In re:                                    )   Chapter 11
                                          )
3333 ALPHARETTA LIFEHOPE 10               )   Case No. 22-57594-LRC
ACRE LAND, LLC,                           )
                                          )   Preliminary Hearing: September 28,
         Debtor.                          )         2022 at 9:00 a.m.
                                          )
3333 ALPHARETTA LIFEHOPE 10               )
ACRE LAND, LLC,                           )   Contested Matter
                                          )
         Movant,                          )
                                          )
v.                                        )
                                          )
CAPITAL ONE, N.A.,                        )
                                          )
         Respondent                       )

     INTERIM ORDER AUTHORIZING DEBTOR'S LIMITED USE OF CASH
         COLLATERAL AND GRANTING ADEQUATE PROTECTION
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       This matter came before the Court on September 28, 2022 for an initial hearing (the
"Preliminary Hearing") on the Emergency Motion For Entry Of An Interim Order
Authorizing Use Of Cash Collateral [Docket No. 4] (the "Emergency Motion") filed by
3333 Alpharetta Lifehope 10 acre Land, LLC (the “Debtor”). Through the Emergency
Motion, the Debtor requests that the Court enter an interim order authorizing the Debtor's
limited use of cash collateral pending a final hearing on the Emergency Motion.
       Capital One, National Association ("Capital One"), as agent and lender under the
Loan Agreement (defined below), filed its Limited Objection To Debtor's Emergency
Motion For Entry Of An Interim Order Authorizing Use Of Cash Collateral [Docket No.
13] (the "Limited Objection") with respect to the Emergency Motion. Capital One's
objections to the entry of an interim order authorizing the Debtor's limited use of cash
collateral pending a final hearing are addressed under the terms and conditions of this
Interim Order.
       Having reviewed and considered the Emergency Motion, the Limited Objection, the
representations and argument of counsel at the Preliminary Hearing, and the entire record
before the Court, and good and sufficient cause appearing therefor,
       IT IS HEREBY FURTHER FOUND AND CONCLUDED that:
       A.     On September 23, 2022 (the “Petition Date”), the Debtor filed a voluntary
petition for relief with this Court commencing the above-captioned Chapter 11 case (the
“Bankruptcy Case”). Pursuant to Bankruptcy Code §§ 1107 and 1108, the Debtor is
continuing in possession of its assets and has continued in the operation and management
of its business as debtor-in-possession.
       B.     This Court has jurisdiction over the Emergency Motion pursuant to 28 U.S.C.
§§ 157(b) and 1334. The Emergency Motion presents a core proceeding as defined in 28
U.S.C. § 157(b)(2). Venue is proper in this Court pursuant to 28 U.S.C. § 1408.




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       C.     Under the circumstances, proper and sufficient notice of the Emergency
Motion, the Preliminary Hearing and the relief granted in this Interim Order has been given
by the Debtor.
       D.     The Debtor is the owner of certain interests in real property and
improvements comprising an office building located at 3333 Old Milton Parkway,
Alpharetta, Fulton County, Georgia (the "Property").
       E.     The Debtor is not the owner of the real property underlying the office
building. Rather, the Debtor is the ground lessee of the Property pursuant to a Ground
Lease Agreement dated as of August 31, 2017 (as amended from time to time, the "Ground
Lease") between 3333 Old Milton Alpharetta LLC (the "Ground Lessor"), as landlord, and
the Debtor, as tenant.
       F.     Pursuant to a Loan Agreement dated as of August 30, 2019 (as thereafter
amended, the "Loan Agreement") entered by the Debtor, as borrower, and Capital One, as
administrative agent, collateral agent, and a lender, Capital One provided a non-revolving
loan facility in the maximum principal amount of $32,000,000 to Borrower (the "Loan").
(The Loan Agreement, as amended prior to the Petition Date, together with all collateral
and ancillary documents executed in connection therewith are referred to herein as the
“Loan Documents”, and the principal, interest, fees, expenses and other amounts owing by
the Debtor under the Loan Documents are referred to herein as the “Indebtedness”).
       G.     Capital One asserts that, (i) as of the Petition Date, the unpaid principal
balance of the Loan is at least $28,302,407.35; and (ii) in addition, accrued and accruing
interest (including default interest), costs, fees (including attorney's fees) and other
amounts chargeable to the Debtor under the Loan Agreement and other Loan Documents
are fully due and owing by the Debtor.
       H.     Capital One asserts that, as security for repayment of the Indebtedness,
Capital One holds valid, perfected, and enforceable liens and security interests in
substantially all assets of the Debtor as described in the Loan Documents (collectively, the

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"Capital One Collateral"), including, among other things, all funds held by or for the Debtor
as of the Petition Date and all rents collected from tenants of the Property.
       I.     The Capital One Collateral includes cash proceeds and other cash equivalents
that are “cash collateral” as defined in Bankruptcy Code §363(a). The Capital One
Collateral that is cash collateral will be referred to herein as the “Cash Collateral.”
       J.     Capital One has not consented to any use of its Cash Collateral by the Debtor
except only under the express terms and conditions stated in this Interim Order.
       K.     Under the circumstances of this case, cause exists for the Court to grant the
relief provided in this Interim Order, including to provide adequate protection of Capital
One's interests in the Cash Collateral in accordance with Bankruptcy Code §§ 363(c)(4)
and (e).
       Accordingly, based upon the foregoing findings and conclusions, and upon the
record made before the Court at the Preliminary Hearing, and good and sufficient cause
appearing therefor;
       IT IS HEREBY ORDERED that:
       1.     The Emergency Motion is hereby granted on an interim basis, subject to the
terms and conditions set forth in this Interim Order. All objections to the entry of this
Interim Order have either been resolved as stated on the record at the Preliminary Hearing,
or shall be overruled for purposes of this Interim Order.
       2.     Pursuant to Bankruptcy Code § 363(c), the Debtor is authorized to use Cash
Collateral under (and only under) the terms and conditions set forth in this Interim Order.
       3.     Unless terminated earlier under the terms of this Interim Order, the Debtor's
authorization to use Cash Collateral under this Interim Order shall terminate on the date
scheduled for the Final Hearing stated below in this Interim Order. If the Debtor fails to
comply fully with the material terms and conditions of this Interim Order, then Capital One
objects to any subsequent use of Cash Collateral by the Debtor, and the Debtor's
authorization to use Cash Collateral for any purpose is terminated; provided, however, that

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the Debtor may thereafter obtain an emergency hearing on further authority to use Cash
Collateral at a hearing set on at least three (3) business days' notice to Capital One and the
United States Trustee. Nothing herein shall be deemed a waiver of (i) the Debtor's right to
seek authority to continue its use of the Cash Collateral beyond termination of authority
under this Interim Order, or (ii) the right of Capital One or any other party to object thereto.
       4.     A short-term budget prepared by the Debtor is attached as Exhibit A to this
Interim Order (the "Budget"). Unless authority to use Cash Collateral under this Interim
Order has been terminated earlier as provided herein and subject to the limitations stated
below, the Debtor may use Cash Collateral to pay (i) ordinary and necessary operating
expenses in accordance with the Budget, or (ii) other specific expenses with the prior
written consent of Capital One. The authority of the Debtor to use Cash Collateral is
subject to the following additional limitations -- without the prior written consent of Capital
One or further Court order, (a) the Debtor shall not make any payments to any insider or
affiliate; (b) the Debtor shall not pay any expenses that would cause aggregate payments
for any week under the Budget to exceed 110% of the aggregate amount shown in the
Budget for that week; and (c) the Debtor shall not pay any expenses that would cause
aggregate payments under any line item of the Budget to exceed 110% of the aggregate
amount shown in the Budget for that line item (except that the Debtor may pay amounts in
excess of this limitation with respect to the line item for payments to Georgia Power).
       5.     No later than two (2) business days after the entry of this Interim Order, the
Debtor will designate a deposit account as the "Cash Collateral Account" for purposes of
this Interim Order, and will provide written notice to the US Trustee and Capital One
regarding this designation. The Debtor shall at all times segregate and sequester all of the
Cash Collateral (including, without limitation, all funds held by or for the Debtor and all
rents collected from tenants of the Property) in the Cash Collateral Account. The Debtor
may withdraw funds from the Cash Collateral Account only as necessary to pay authorized



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expenses in accordance with the provisions of this Interim Order. Without limiting the
foregoing:
              a.     No later than three (3) business days after the entry of this Interim
       Order, the Debtor shall (i) deposit all funds it is holding and other Cash Collateral
       into the Cash Collateral Account, (ii) cause all funds or other Cash Collateral held
       for the Debtor by any of its principals or affiliates to be returned to the Debtor and
       deposited into the Cash Collateral Account, and (iii) identify in a written
       communication to Capital One any funds held for the Debtor by any third party,
       including the amount of such funds, the third party holding such funds, and the
       reasons and bases for the third party to be holding funds of the Debtor. (This
       provision does not in any way limit or restrict the rights of the Debtor or any other
       party to investigate, or seek to avoid or recover, any payments or transfers made by
       the Debtor before or after the commencement of the Bankruptcy Case, and all such
       rights are expressly reserved.)
              b.     The Debtor shall direct all tenants of the Property to make rent
       payments directly into the Cash Collateral Account, or shall deposit all such rent
       payments in the Cash Collateral Account no later than two (2) business days after
       receipt by the Debtor.
       6.     Notwithstanding anything in Bankruptcy Code §552 to the contrary, Capital
One shall have and is hereby granted (effective and continuing without the necessity of the
execution, filing and/or recordation of mortgages, security agreements, deeds of trust,
patent security agreements, trademarks security agreements, pledge agreements, financing
statements or otherwise), valid and perfected security interests and liens (the “Replacement
Liens”) in all of the Debtor's post-petition assets of the type described in the Loan
Documents, including, without limitation, the Cash Collateral Account and all other
deposit accounts maintained by the Debtor, all cash contained in such deposit accounts,
and all rents and other income collected by the Debtor from any source. The continuing

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Replacements Liens held by or granted to Capital One: (i) will secure repayment of the
Indebtedness, but will be limited in amount to the total amount of Cash Collateral used by
the Debtor from and after the Petition Date; (ii) will be evidenced by the existing Loan
Documents and this Interim Order; and (iii) will have the same validity and priority as
Capital One's existing liens and security interests under the Loan Documents as of the
Petition Date.
       7.        To the extent the Replacement Liens granted to Capital One do not provide
Capital One with adequate protection of its interest in the Cash Collateral, Capital One
shall have a super-priority administrative expense claim under Bankruptcy Code §507(b)
as necessary to fully compensate Capital One for the use of its Cash Collateral by the
Debtor.
       8.        The Debtor shall provide to Capital One the following financing reports and
information:
                 a.    On each Tuesday after the entry of this Interim Order, the Debtor shall
       provide to Capital One a written report that includes the following: (a) the balance
       of the Cash Collateral Account (in which the Cash Collateral is segregated) at the
       end of the prior week; (b) a list of all withdrawals from the Cash Collateral Account,
       and each of the payments funded with those withdrawals; and (c) a list of all deposits
       in the Cash Collateral Account and the source of those deposits (including the name
       of tenants making rent payments).
                 b.    On or before October 3, 2022, the Debtor shall provide to Capital One,
       with respect to each of the calendar months of May, June, July and August, 2022,
       an income statement and a cash flow statement.
                 c.    On or before October 10, 2022 and, thereafter, no later than ten (10)
       days following the end of each month, the Debtor shall provide to Capital One, with
       respect to the preceding month, an income statement, a cash flow statement, and a
       comparison of actual expenses paid against the Budget.

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               d.     In addition, the Debtor shall promptly provide to Capital One all other
       financial information related to Cash Collateral or related matters as reasonably
       requested by Capital One or its attorneys or other representatives.
       9.      Nothing in this Interim Order will be deemed or construed as an admission
or waiver by Capital One as to adequate protection, or any other issue in the Bankruptcy
Case; nor, shall this Interim Order constitute consent by Capital One to the use of its Cash
Collateral other than under the terms and conditions expressly provided herein. In addition,
nothing contained in this Interim Order shall prejudice the rights of Capital One to seek
any relief that Capital One may deem necessary and appropriate under the circumstances.
       10.     Nothing in this Interim Order shall be construed as a finding or conclusion
that Capital One or any other party holds a valid security interest, lien, or any interest in
any of the Debtor’s assets, and all parties’ rights with respect to such issues are reserved.
       11.     The Court shall hold a final hearing on the Emergency Motion (the "Final
Hearing") on October 27, 2022 at 10:15 a.m. in Courtroom 1204, United States
Courthouse, 75 Ted Turner Drive, Atlanta, Georgia 30303. Please check the “Important
Information Regarding Court Operations During COVID‐19 Outbreak” tab at the top of
the GANB Website www.ganb.uscourts.gov prior to the hearing for instructions on
appearing by phone.
       12.     The Court has and hereby retains jurisdiction to enforce this Interim Order
according to its terms.


                                 ###END OF ORDER###


Prepared and presented by:

ROUNTREE LEITMAN KLEIN
& GEER, LLC


/s/ Will B. Geer

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Proposed Attorneys for the Debtor

Consented to by:

/s/ Walter E. Jones (w/ express permission)
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Distribution List

The clerk shall serve a copy of this order on all parties on the mailing matrix.




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Exhibit "A"
                                                                                                  Projected

6-week Budget                                            Week 1       Week 2        Week 3     Week 4      Week 5    Week 6
                                                          Friday       Friday        Friday     Friday    Saturday    Sunday
Week Beginning Date                                      9/19/2022    9/26/2022     10/3/2022 10/10/2022 10/17/2022 10/24/2022
Week Ending Date                                         9/23/2022    9/30/2022     10/7/2022 10/14/2022 10/21/2022 10/28/2022
Prior Week - Beginning Cash                              10,881.76      6,405.71    92,804.30   8,315.83   2,886.62     (635.93)

Operating Cash Flow
Revenue
Sonali Bora Enterprises                                                 3,538.16                                               3,538.16
The Graivier Center P.C.                                               18,622.29                                              18,622.29
The Graivier Center P.C.                                               10,112.31                                              10,112.31
The Graivier Center P.C.                                                  321.95                                                 321.95
Pain Physicians of Atlanta                                             21,850.44                                              21,850.44
Pain & Spine Physicians Surgery Center, LLC                            18,903.99                                              18,903.99
Aient Management Company, LLC                                          25,101.24                                              25,101.24
The Center for Advanced Medicine, LLC                                  18,091.09                                              18,091.09
Revue Pharmacy                                                          2,669.33                                               2,669.33

Total Revenue                                                  -      119,210.80           -             -            -      119,210.80

Expenses
Wages                                                  Prepetition
Dalia Soria                                                (456.00)      (456.00)      (456.00)      (456.00)    (456.00)       (456.00)
Demarco McKenzie                                           (836.55)      (836.55)      (836.55)      (836.55)    (836.55)       (836.55)
Demarion Smith                                             (386.00)      (386.00)      (386.00)      (386.00)    (386.00)       (386.00)
Darius Brooks                                              (480.00)      (480.00)      (480.00)      (480.00)    (480.00)       (480.00)
Jennifer Yearwood                                          (420.00)      (420.00)      (420.00)      (420.00)    (420.00)       (420.00)
Keyona R Jones                                             (288.00)      (288.00)      (288.00)      (288.00)    (288.00)       (288.00)
Len Poplar                                                 (290.00)      (290.00)      (290.00)      (290.00)    (290.00)       (290.00)
Rhonda McLendon                                            (366.00)      (366.00)      (366.00)      (366.00)    (366.00)       (366.00)
Employees
Janice Bouie                                               (953.50)    (1,906.66)                  (1,906.66)                 (1,906.66)
Trash - Waste Management                                               (3,300.00)                                             (3,300.00)
Total Maintenance, Contract & Repairs                                  (1,400.00)                                             (1,400.00)
Total Utilities (Electric, Gas, Water, Sewer, Phone)                                                                                -
  Georgia Power                                                       (13,500.00)                                            (13,500.00)
  Fulton County Water                                                  (3,000.00)                                             (3,000.00)
  Telephone                                                              (750.00)                                               (750.00)
Janitorial Supplies                                                    (1,000.00)                                             (1,000.00)
Lawn, Landscape, Grounds, Irrigation                                                                                                -
Parking lot repair & maintenance                                                                                                    -
Insurance Past Due & Paid Current $48,644.00                           (4,433.00)                                             (4,433.00)
Legal Fees                                                                                                                          -
CPA                                                                                                                                 -
UST Distribution Fee                                                                                                                -
Total Expenses                                           (4,476.05)   (32,812.21)    (3,522.55)    (5,429.21)   (3,522.55)   (32,812.21)

Weekly Operating Cash Flow                               (4,476.05)    86,398.59     (3,522.55)    (5,429.21)   (3,522.55)    86,398.59

Financing Cash Flow
Capital One Loan Payments
Ground Lease Payments                                                               (80,965.93)
Weekly Financing Cash Flow                                     -             -      (80,965.93)          -            -             -

Weekly Free Cash Flow                                    (4,476.05)    86,398.59    (84,488.48)    (5,429.21)   (3,522.55)    86,398.59

End of Week / Month Cash                                  6,405.71     92,804.30     8,315.83       2,886.62     (635.93)     85,762.66
